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              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF GEORGIA
                   SAVANNAH DIVISION

JOE PERRY GARRETT,                   )



                                     )



V.                                   )      Case No. CV412-237
                                     )                 CR499- 133
UNITED STATES OF AMERICA             )




                                  ORDER

      Let a copy of this Report and Recommendation be served upon plaintiff
and counsel for defendant. Any objections to this Report and
Recommendation must be filed with the Clerk of Court not later than March 7,
2013. The Clerk shall submit this Report and Recommendation together with
any objections to the Honorable William T. Moore, Jr., United States District
Judge, on March 8, 2013. Failure to file an objection within the specified time
means that this Report and Recommendation may become the opinion and
order of the Court, Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982), and
further waives the right to appeal the District Courts Order. Thomas v. Am,
474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
      SO ORDERED this 21st day of February, 2013.


                                                UNITED STATES MAGISTRATE JUDGE
                                                SOUTHERN DISTRICT OF GEORGIA
